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                                                                                        EXHIBIT A



         WHITTELSEY, WHITTELSEY, POOLE & CORLEY, P.C.
                                      ATTORNEYS AT LAW
                                           600 Avenue A
                                         Post Office Box 106
                                    Opelika, Alabama 36803-0106
                                     Telephone (334) 745-7766
                                     Facsimile. (334) 745-7666

 Davis B. Whittelsey                                                        C. S. Whittelsey
 Robert G. Poole*
 Jonathan K. Corley
 • ALSO ADMIrIEI) IN MISSISSU'II
    RE1IRED



 March 24, 2014

 VIA CERTIFIED MAIL

 Fidelity & Deposit Company of Maryland
 c/o Zurich, Contract Surety Bond Claims
 1400 American Lane
 Schaumburg, Illinois 60196

• Travelers Casualty & Surety Company of America
  One Tower Square
 • Hartford, Connecticut 0.183

 Re: Pro Lawns. Inc. v. W. G. Yates & Sons construction Company
     F & D Bond No.: PRF9045595
     Travelers Bond No.: 105733590

 To Whom It May Concern:

 This law firm represents Pro Lawns, Inc. ("Pro Lawns") regarding its claims against the above-
 referenced bonds. This letter is to inform you that Pro Lawns performed labor and furnished
 material to the South Donahue Residence Hall and Parking Facilities (Package I—A) for Auburn
 University (Project No 10— 217) (hereinafter, the "Project") pursuant to a subcontract with W G
 Yates & Sons Construction Company ("Yates").

 Pro Lawns completed its work on the Project and has requested payment; however, to date, your
 principal, Yates, has failed or refused to render payment to Pro Lawns The amount owing Pro
 Lawns by Yates is $183,287.1 . 6. This amount has been due and owing since Pro Lawns' pay
 request of November 19, 2013.

 Based on the foregoing, Pro Lawns hereby makes a claim against the abovereferenced bonds for
 the Project in the amount of $183,287.16. In the event that this claim is not satisfied within 45
 days from your receipt of this demand, Pro Lawns will commence an action against the bonds.
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Fidelity & Deposit Compaof Maryland
Travelers Casualty & Surety Company
March 24, 2014
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I look forward to and expect your prompt attention to this matter. Please advise.

Sincerely,

                                           & CORLEY, P.C.




cc:    Thomas J. Gentile
       Alabama Resident Agent for Surety
       2601 Bell Road
       Montgomery, Alabama 36117
